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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

LETASHA MYATT, on behalf of herself )
others similarly situated,          )
                                    )
                         Plaintiff, )
                                    )
v.                                  )                 CASE NO. 1:10-CV-64-TLS
                                    )
ALLEN COUNTY SHERIFF KEN FRIES )
(in his official capacity),         )
                                    )
                         Defendant. )

                           PARTIES’ JOINT REPORT TO COURT

       The Plaintiff by Class Counsel, and Defendant by Counsel, respectfully submit the

following joint status report to the Court addressing the distribution of general damage award

payments to Class Members in the above lawsuit:

       1.   The Class consists of 962 class members, that were over-detained in the Allen

            County Jail.

       2. To date, 501 payments have been issued and cashed, addressing class members’

            general damages claims for over-detentions. (Class members with multiple incidents

            of applicable over-detentions were typically issued a single general damages check to

            address their general damages claims).

               a. Please See Attached Ex. A, Chart of Cleared Checks, which lists the 427

                   general damages checks sent to the class members who received and cashed

                   the initial checks sent to them;

               b. To date 74 additional class members were sent general damage award checks,

                   that were later voided and reissued and then cashed. Please see attached



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                    Ex. B, Chart of Reissued Checks.

                3. Of the remaining class members, 105 had their general damages award checks issued

                   to the State of Indiana due to court ordered garnishments.

                4. A total of 356 general damages checks remain to be served.


                                                            Respectfully submitted,

                                                            CHRISTOPHER C. MYERS & ASSOCIATES



                                                            /s/ Ilene M. Smith
                                                            Christopher C. Myers (I.D. #10043-02)
                                                            Ilene M. Smith (I.D. # 22818-02)
                                                            809 South Calhoun Street, Suite 400
                                                            Fort Wayne, Indiana 46802
                                                            Attorneys for Plaintiff



                                        CERTIFICATE OF SERVICE

        The undersigned hereby swears and affirms that a true and correct copy of the above was
deposited in the United States Mail, sent via ECF, or by some other method approved by this Court,
on this 3rd day of May 2018, to the following:

John O. Feighner
J. Spencer Feighner
Haller & Colvin, P.C.
444 E. Main Street
Fort Wayne, IN 46802-1910

                                                            /s/ Ilene M. Smith
                                                            Ilene M. Smith


IMS/js 5/3/18




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